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                        UNITED STATES COURT OF APPEALS
                                                                        FILED
Sep 11 2019                    FOR THE NINTH CIRCUIT
                                                                        AUG 07 2019
                                                                       MOLLY C. DWYER, CLERK
  s/ AKR
                                                                        U.S. COURT OF APPEALS




   UNITED STATES OF AMERICA,                       No. 17-50387

                   Plaintiff - Appellee,
                                                   D.C. No. 3:14-cr-00388-MMA-1
       v.                                          U.S. District Court for Southern
                                                   California, San Diego
   JOSE SUSUMO AZANO MATSURA,
   AKA Mr. A, AKA Mr. Lambo,                       MANDATE

                   Defendant - Appellant.


            The judgment of this Court, entered May 16, 2019, takes effect this date.

            This constitutes the formal mandate of this Court issued pursuant to Rule

 41(a) of the Federal Rules of Appellate Procedure.

                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT

                                                   By: Jessica F. Flores Poblano
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7
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                               FOR PUBLICATION

                    UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT



               UNITED STATES OF AMERICA,                No. 17-50337
                                Plaintiff-Appellee,
                                                          D.C. No.
                                v.                     3:14-cr-00388-
                                                          MMA-2
               RAVNEET SINGH, AKA Ravi Singh,
                            Defendant-Appellant.



               UNITED STATES OF AMERICA,                No. 17-50387
                                Plaintiff-Appellee,
                                                          D.C. No.
                                v.                     3:14-cr-00388-
                                                          MMA-1
               JOSE SUSUMO AZANO MATSURA,
               AKA Mr. A, AKA Mr. Lambo,
                            Defendant-Appellant.          OPINION



                     Appeal from the United States District Court
                        for the Southern District of California
                     Michael M. Anello, District Judge, Presiding

                       Argued and Submitted March 13, 2019
                            San Francisco, California

                                 Filed May 16, 2019
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                   Before: MILAN D. SMITH, JR., PAUL J. WATFORD,
                       and ANDREW D. HURWITZ, Circuit Judges.

                           Opinion by Judge Milan D. Smith, Jr.


                                         SUMMARY *


                                         Criminal Law

                   The panel reversed Jose Susumo Azano Mastura’s and
               Ravneet Singh’s convictions on count 37 for falsification of
               campaign records, affirmed all other convictions, vacated
               the sentences, and remanded for resentencing, in a case in
               which Azano, a foreign national, and his co-conspirators
               sought to influence local politicians during the 2012 San
               Diego election cycle by providing campaign contributions.

                   Rejecting appellants’ contention that Congress lacks the
               power to prohibit foreign nationals from donating and
               contributing to state and local elections, the panel held that
               Congress acted within its constitutional authority in enacting
               52 U.S.C. § 30121(a). Bound by the Supreme Court’s
               summary affirmance in Bluman v. FEC, 800 F. Supp. 2d 281
               (D.D.C. 2011), aff’d, 565 U.S. 1104 (2012), the panel
               rejected appellants’ contention that § 30121(a) violates
               foreign nationals’ First Amendment rights.

                   The panel rejected appellants’ contention that 52 U.S.C.
               § 30109(d), the penalty provision applicable to violations of
               § 30121, requires that the government prove that a defendant

                    *
                     This summary constitutes no part of the opinion of the court. It
               has been prepared by court staff for the convenience of the reader.
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               harbors the specific intent to evade § 30121, not merely the
               intent to commit unlawful conduct. As to the jury instruction
               on the charge that Singh aided and abetted Azano’s unlawful
               donations, the panel rejected Singh’s argument that the
               district court’s failure to include the element that Singh knew
               Azano lacked immigration status constitutes reversible error.
               The panel held that the instructions as a whole adequately
               covered the element of Singh’s knowledge of Azano’s
               immigration status.

                   Appellants contested their convictions under counts 5
               through 37, arguing there was insufficient evidence to satisfy
               the material elements of 18 U.S.C. § 1519 (falsifying
               campaign records).

               x   Singh argued that § 1519 requires an affirmative act, and
                   that a mere omission, without an affirmative duty, cannot
                   satisfy the actus reus element. The panel held that an
                   omission satisfies the actus reus element for § 1519. The
                   panel observed that Singh was not simply convicted
                   under § 1519, but under 18 U.S.C. § 2(b) (willfully
                   causing an act to be done which if directly performed by
                   him or another would be an offense against the United
                   States) in conjunction with § 1519, in which scenario the
                   actus reus element merges with the mens rea element to
                   focus liability on the person harboring the criminal
                   intent. The panel wrote that the government thus did not
                   need to prove that Singh prepared the campaign
                   disclosure forms or had a duty to report Azano’s
                   patronage; rather, that the campaign had a duty to report
                   the information was enough, and § 2(b) authorized
                   holding accountable those with the intent to conceal or
                   falsify records.
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               x   Regarding causation under § 2(b), the panel held that the
                   government presented sufficient evidence for a jury to
                   find that Singh willfully caused the Bonnie Dumanis
                   primary mayoral election campaign to file falsified
                   reports, and therefore affirmed appellants’ convictions
                   under count 32. The panel found insufficient evidence
                   that Singh willfully caused the Bob Filner general
                   mayoral election campaign to file falsified reports, and
                   therefore reversed the convictions under count 37.

               x   Regarding the § 1519 element of an investigation by the
                   United States of a matter within its jurisdiction, the panel
                   held that a jury could reasonably infer that Singh
                   contemplated an investigation due to unlawful activity
                   and intended to direct that investigation away from
                   himself. Singh argued that any investigation of his
                   conduct is not within the jurisdiction of the United States
                   because his conduct involved a local campaign and the
                   falsified campaign disclosure forms violated only state
                   and local law. The panel rejected this contention because
                   the campaign disclosure forms were sought in
                   connection with the FBI’s investigation of a federal
                   crime.

               x   As to counts 5 through 31 and 33 through 36, the panel
                   concluded that a reasonable jury could find beyond a
                   reasonable doubt that Azano concealed his identity from
                   these campaigns by recruiting straw donors, and that he
                   willfully caused both campaigns to file false reports with
                   the intent of obstructing a potential investigation.

                  Rejecting Singh’s challenges to his conspiracy
               conviction, the panel held that the jury instructions
               adequately covered Singh’s multiple conspiracy theory, and
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               that there was sufficient evidence to show a single
               conspiracy.

                   The panel affirmed Azano’s conviction under 18 U.S.C.
               § 922(g)(5)(B) for unlawfully possessing a firearm as a
               nonimmigrant visa holder. Applying intermediate scrutiny
               to Azano’s Second Amendment challenge, and assuming
               without deciding that the Second Amendment extends to
               nonimmigrant visa holders, the panel held that
               § 922(g)(5)(B)’s prohibition on firearm possession and
               ownership by nonimmigrant visa holders serves an
               important public interest in crime control and public safety,
               without substantially burdening a nonimmigrant visa
               holder’s assumed Second Amendment right. The panel
               rejected Azano’s contentions that his possession of a gun as
               a B2 visa holder fell within the “pleasure” designation in
               22 C.F.R. § 41.31.(b)(2) or automatically qualified as a
               “sporting purpose” pursuant to 18 U.S.C. § 922(y)(2). The
               panel also rejected Azano’s contention that § 922(g) is
               unconstitutionally vague as applied to B1/B2 visa holders.

                   The panel held that the district court did not abuse its
               discretion in denying Azano’s motion for a new trial based
               on alleged ineffective assistance of his trial counsel, and
               declined to entertain his ineffective-assistance claim on
               direct appeal. The panel held that Singh waived his
               argument that the district court abused its discretion in
               denying his motion to sever his trial from all defendants
               except Azano. The panel held that the record does not
               support Singh’s claim that the joint trial compromised his
               due process rights.
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                                      COUNSEL

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               Robert S. Brewer Jr., United States Attorney; United States
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               Appellee.

               Charles H. Bell Jr. and Terry J. Martin, Bell McAndrews &
               Hiltachk LLP, Sacramento, California, for Amici Curiae
               California Campaign and Election Law Attorneys.


                                       OPINION

               M. SMITH, Circuit Judge:

                   Jose Susumo Azano Matsura aspired to participate in
               developing San Diego and turning it into the Miami Beach
               of the west coast. To help achieve this goal, Azano and his
               co-conspirators sought to influence local politicians during
               the 2012 San Diego election cycle by providing campaign
               contributions. However, as a foreign national, Azano was
               prohibited by federal law from donating or contributing to
               American campaigns.

                   A jury convicted Azano and Ravneet Singh of various
               crimes stemming from the campaign contributions; Azano
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               was also convicted of violating federal firearms law. Azano
               and Singh (together, Appellants) now appeal, raising a litany
               of constitutional, statutory, and procedural arguments.
               Although we affirm the district court in large part, we
               reverse their convictions on count thirty-seven (obstruction
               of justice in violation of 18 U.S.C. § 1519).

                 FACTUAL AND PROCEDURAL BACKGROUND

               I. Factual Background

                   Azano ran a successful technology business based in
               Mexico City, but maintained a family home in San Diego.
               Although Azano’s wife and children are United States
               citizens, he is neither a naturalized United States citizen nor
               a permanent resident. Azano, a citizen of Mexico, entered
               the United States in January 2010 on a B1/B2 visa, which
               allows visitors entry for pleasure or business if the
               noncitizen “intends to leave the United States at the end of
               the temporary stay.” 22 C.F.R. § 41.31(a)(1). Azano
               traveled weekly back and forth from San Diego to Mexico
               City for business purposes.

                   At trial, the government introduced evidence that Azano
               had an interest in developing San Diego, and particularly the
               Chula Vista waterfront area. The government introduced
               testimony that in order to achieve his development goals,
               Azano believed that he needed government cooperation,
               which included a relationship with the mayor of San Diego.
               Azano had previously formed such relationships in Mexico
               by making campaign contributions to candidates for various
               offices. Azano set about implementing a similar strategy in
               San Diego. With the aid of his co-conspirators, Azano
               sought to secure the favor of San Diego mayoral candidates
               who he believed would support his development plans.
               Azano first supported Bonnie Dumanis during the 2012
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               primary elections, but when she lost, he supported Bob
               Filner in the general election. Azano did so despite the fact
               that federal law prohibits “a foreign national, directly or
               indirectly,” from making “a contribution or donation of
               money or other thing of value . . . in connection with a
               Federal, State, or local election.” 52 U.S.C. § 30121(a).

                   Azano’s funding scheme involved a number of people.
               Ernie Encinas, head of Azano’s security team, was a former
               San Diego police officer with useful political connections
               who helped represent Azano’s interests within the two
               campaign organizations. Marco Polo Cortes provided
               lobbying connections and helped facilitate initial meetings
               with the two campaign staffs. Mark Chase was a local car
               dealer and Azano’s “good friend,” who arranged straw
               donors to donate to the Dumanis mayoral campaign, and
               later disguised Azano’s donations to Filner’s political action
               committee (PAC) and other entities by writing checks from
               his personal and business accounts. Edward Susumo Azano
               Hester, Azano’s son, recruited straw donors to give to the
               Dumanis campaign.

                   Singh was the CEO of ElectionMall, a media platform
               offering a “one-stop sho[p] of technology to candidates and
               political parties running for office.” Singh first worked with
               Azano on a Mexican presidential campaign in 2011. This
               professional relationship continued into the mayoral
               campaigns of Dumanis and Filner. Aaron Rosheim, the
               former director of web strategy at ElectionMall, testified that
               Azano paid ElectionMall for work on the San Diego
               campaigns. For this work, Singh billed Azano’s Mexican
               companies, using the code names “Betty Boop” for
               Dumanis’s campaign and “Plastic Man” for Filner’s
               campaign. Evidence also suggested that Singh tried to
               conceal any paper trail of his work for Azano. An internal
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               ElectionMall email from Singh with the subject title “OLD
               invoices for Mr. A” stated: “Please don’t have cynthia or
               anyone else send things with a code name. And then list the
               clients name in a [sic] email. That is stupid and dangerous
               for me.” Additionally, in response to an email from Encinas
               about forming a PAC for Dumanis, Singh stated, “I am not
               responding to this email. Bec[au]se of the legal
               ram[i]fications.”

               II. Procedural Background

                    A federal grand jury returned a Third Superseding
               Indictment (the Indictment) charging four individuals—
               Azano, Singh, Cortes, and Hester—and one corporate
               defendant, ElectionMall, with illegally conspiring to commit
               campaign finance fraud in the 2012 San Diego mayoral
               elections. The government later dropped ElectionMall as a
               defendant and the four individuals were tried together. After
               trial, Cortes and Hester reached plea agreements and pled
               guilty to participating in the campaign contribution scheme.
               Encinas and Chase, who had been charged as co-
               conspirators in a separate indictment, both also pled guilty
               to participating in the campaign contribution scheme.

                   Appellants were charged in count one of the Indictment
               with conspiracy to violate the Federal Election Campaign
               Act (FECA), 52 U.S.C. §§ 30109(d)(1)(A) and
               30121(a)(1)(A), 1 for unlawful campaign donations by a
               foreign national, and conspiracy to falsify campaign records,
               in violation of 18 U.S.C. § 1519. Both were charged in count
               three with the substantive offense of making unlawful
               campaign donations as a foreign national. Singh was
               charged in counts thirty-two and thirty-seven with the

                  1
                      Previously codified at 2 U.S.C. § 441e.
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               substantive offense of falsifying campaign records in
               violation of 18 U.S.C. § 1519. Azano was similarly charged
               in counts five through thirty-seven with the substantive
               offense of falsifying campaign records. Finally, Azano was
               charged in count four with making a conduit contribution in
               connection with a federal election, in violation of 52 U.S.C.
               §§ 30109(d)(1)(A) and 30122, and in count thirty-nine with
               unlawfully possessing a firearm as an alien in violation of
               18 U.S.C. § 922(g)(5)(B).

                   A jury found Appellants guilty on all the counts with
               which they were respectively charged. On October 27, 2017,
               the district court sentenced Azano to three years in custody
               and three years of supervised release, and on August 31,
               2017 sentenced Singh to fifteen months in custody and three
               years of supervised release. Appellants timely appealed.

                                       ANALYSIS

                  Appellants raise a number of claims contesting their
               convictions. We address each in turn.

                                             I

                   Appellants first argue that 52 U.S.C. § 30121 is
               unconstitutional on two grounds: (1) it exceeds Congress’s
               jurisdiction to legislate concerning state and local elections,
               and (2) it violates foreign nationals’ First Amendment
               speech rights. We review the constitutionality of a statute de
               novo. United States v. Jones, 231 F.3d 508, 513 (9th Cir.
               2000).

                  We first consider the genesis of § 30121. As donations
               and contributions have grown more important to the
               campaign process, so too has concern over foreign influence
               in American elections. In 1966, Congress amended the
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               Foreign Agents Registration Act to prohibit foreign
               governments and entities from contributing to American
               political candidates. See Pub. L. No. 89-486, § 8, 80 Stat.
               244, 248–49. Subsequently, Congress banned all foreign
               nationals 2 from making such contributions. See Federal
               Election Campaign Act Amendments of 1974, Pub. L. No.
               93-443, § 101(d), 88 Stat. 1263, 1267.

                   Still, suspicions of foreign influence in American
               elections remained a pervasive concern. Following the 1996
               election, the Senate Committee on Governmental Affairs
               investigated foreign campaign contributions. See S. Rep.
               No. 105-167 (1998). The Committee Report identified
               efforts by agents of the People’s Republic of China to
               “influence U.S. policies and elections through, among other
               means, financing election campaigns.” Id., pt. 1, at 47. The
               report focused chiefly on federal elections, but also referred
               to a “seeding program” to develop individuals to run in state
               and local elections. Id., pt. 2, at 2509.

                   In response to the Committee Report, Congress enacted
               the Bipartisan Campaign Reform Act of 2002 (BCRA),
               which amended FECA and further limited foreign nationals’
               ability to participate in elections. See Pub. L. No. 107-155,
               § 303, 116 Stat. 81, 96. As amended, § 30121(a) currently
               states,




                   2
                      A “foreign national” is “a foreign principal” or “an individual who
               is not a citizen of the United States or a national of the United States . . .
               and who is not lawfully admitted for permanent residence.” 52 U.S.C.
               § 30121(b).
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                      It shall be unlawful for—

                          (1) a foreign national, directly or
                          indirectly, to make—

                             (A) a contribution or donation of
                             money or other thing of value, or to
                             make an express or implied promise
                             to make a contribution or donation in
                             connection with a Federal, State, or
                             local election;

                             (B) a contribution or donation to a
                             committee of a political party; or

                             (C) an expenditure, independent
                             expenditure, or disbursement for an
                             electioneering communication . . .

               52 U.S.C. § 30121(a).

                                            A

                   Appellants challenge whether Congress has the power to
               prohibit foreign nationals from donating and contributing to
               state and local elections. Due to the federal government’s
               plenary power over foreign affairs and immigration, we find
               that Congress has such a power.

                   The federal government has the “inherent power as
               sovereign to control and conduct relations with foreign
               nations.” Arizona v. United States, 567 U.S. 387, 395
               (2012); see also United States v. Curtiss-Wright Exp. Corp.,
               299 U.S. 304, 318–19 (1936). The Constitution grants the
               federal government an “undoubted power over the subject of
               immigration and the status of aliens.” Arizona, 567 U.S. at
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               394; see also U.S. Const. art. I, § 8, cl. 4 (granting Congress
               the power to “establish an uniform Rule of Naturalization”).
               Thus, where, as here, Congress has made a judgment on a
               matter of foreign affairs and national security by barring
               foreign nationals from contributing to our election
               processes, it retains a broad power to legislate. The Supreme
               Court has recognized that “any policy toward aliens is vitally
               and intricately interwoven with contemporaneous policies in
               regard to the conduct of foreign relations, the war power, and
               the maintenance of a republican form of government.”
               Harisiades v. Shaughnessy, 342 U.S. 580, 588–89 (1952). A
               prohibition on campaign donations and contributions by
               foreign nationals is necessary and proper to the exercise of
               the immigration and foreign relations powers. See U.S.
               Const. art. I, § 8, cl. 18. Accordingly, Congress was within
               its power when it acted to protect the country’s political
               processes after recognizing the susceptibility of the elections
               process to foreign interference. 3

                   Appellants assert that because the Constitution “intended
               to preserve to the States the power . . . to establish and
               maintain their own separate and independent governments,”
               Congress may not legislate over state and local elections at
               all. Oregon v. Mitchell, 400 U.S. 112, 124 (1970) (opinion
               of Black, J.). In Mitchell, the Court found unconstitutional
               a provision of the Voting Rights Act that set the voting age
               for state and local elections at eighteen. Id. at 117–18.
               Similarly, in James v. Bowman, the Court struck down a
               federal statute criminalizing bribery in state and local
               elections. 190 U.S. 127, 142 (1903).


                   3
                    Importantly, § 30121(a)(1) bars only foreign nationals from
               making donations and contributions and does not reach the actions of
               American citizens or permanent residents.
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                   We find these cases inapposite. They discuss Congress’s
               authority to regulate state elections as they relate to citizens
               of the United States. In contrast, § 30121(a)(1) regulates
               only foreign nationals, which is within the ambit of
               Congress’s broad power to regulate foreign affairs and
               condition immigration. Therefore, the case before us is
               readily distinguished from Mitchell and James.

                  Accordingly, we hold that Congress acted within its
               constitutional authority in enacting § 30121(a).

                                               B

                   We next consider Appellants’ First Amendment
               challenge. The district court determined § 30121(a) does not
               violate foreign nationals’ First Amendment rights,
               concluding that “it is bound by [the decision in Bluman v.
               FEC, 800 F. Supp. 2d 281 (D.D.C. 2011), aff’d, 565 U.S.
               1104 (2012)] due to the Supreme Court’s summary
               affirmance.” Appellants argue that we are not bound by the
               summary affirmance, because “a summary affirmance by
               [the Supreme] Court is a ‘rather slender reed’ on which to
               rest future decisions.” Morse v. Republican Party of Va.,
               517 U.S. 186, 203 n.21 (1996) (quoting Anderson v.
               Celebrezze, 460 U.S. 780, 784 n.5 (1983)). Further, because
               Bluman considered foreign national participation in a federal
               election—not, as here, a state or local election—Appellants
               argue that the summary affirmance poses no bar.

                   “[T]he Supreme Court’s summary affirmances bind
               lower courts, unless subsequent developments suggest
               otherwise. . . . Although . . . the Supreme Court is more
               willing to reconsider its own summary dispositions than it is
               to revisit its prior opinions, this principle does not release the
               lower courts from the binding effect of summary
               affirmances.” United States v. Blaine Cty., 363 F.3d 897,
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               904 (9th Cir. 2004) (citing Hicks v. Miranda, 422 U.S. 332,
               344–45 (1975)). And, although “[t]he precedential effect of
               a summary affirmance extends no further than the precise
               issues presented and necessarily decided by those actions,”
               Green v. City of Tucson, 340 F.3d 891, 902 (9th Cir. 2003)
               (quoting Anderson, 460 U.S. at 784 n.5), Bluman did decide
               the precise issue present in this case. In Bluman, a plaintiff
               sought to donate money to federal candidates and a
               candidate running for the New York state senate. 800 F.
               Supp. 2d at 285. Thus, we agree with the district court that
               we are bound by the Supreme Court’s summary affirmance
               in Bluman.

                                             II

                  The penalty provision applying to violations of § 30121
               requires that an individual act “knowingly and willfully”
               when making a prohibited donation or contribution:

                      (1)(A) Any person who knowingly and
                      willfully commits a violation of any provision
                      of this Act which involves the making,
                      receiving, or reporting of any contribution,
                      donation, or expenditure—

                          (i) aggregating $25,000 or more during a
                          calendar year shall be fined under Title
                          18, or imprisoned for not more than
                          5 years, or both . . .

               52 U.S.C. § 30109(d) (emphasis added). Appellants argue
               that the district court committed reversible error by failing to
               properly instruct the jury as to the required mental state.
               Appellants argue that Ratzlaf v. United States, 510 U.S. 135
               (1994), requires that the government prove that the
               defendants harbored the specific intent to evade § 30121, not
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               merely the intent to commit unlawful conduct. Singh
               additionally argues that the district court erred by failing to
               instruct the jury that “knowledge of Azano’s immigration
               status was a material element of the crime.”

                   “We review the formulation of jury instructions for
               abuse of discretion, but review de novo whether those
               instructions correctly state the elements of the offense and
               adequately cover the defendant’s theory of the case.” United
               States v. Liew, 856 F.3d 585, 595–96 (9th Cir. 2017).

                                             A

                   In its jury instructions covering Azano’s principal
               offense, the district court stated the intent element for
               §§ 30109(d)(1)(A) and 30121 as follows:

                      Fourth, defendant acted knowingly and
                      willfully.

                      ...

                      An act is done willfully if the defendant acted
                      with knowledge that some part of his course
                      of conduct was unlawful and with the intent
                      to do something the law forbids, and again
                      not by mistake or accident. In other words, a
                      person acts “willfully” when he acts with a
                      bad purpose to disobey or disregard the law.

                      It is not necessary for the government to
                      prove that the defendant was aware of the
                      specific provision of the law that he is
                      charged with violating.        Rather, it is
                      sufficient for the defendant to act knowing
                      that his conduct is unlawful, even if he does
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                        not know precisely which law or regulation
                        makes it so.

               Azano objected to this instruction, and proposed instead the
               jury be told that “in order to find that a defendant knowingly
               and willfully committed the crime charged in this count, you
               must find that he knew his actions violated the prohibition
               on foreign national contributions at the time he performed
               them.” Similarly, the jury instruction for Singh’s charge
               required only “knowledge that some part of his course of
               conduct was unlawful,” not that he knew specifically of the
               prohibition on foreign national contributions. 4

                   “The word ‘willfully’ is sometimes said to be ‘a word of
               many meanings’ whose construction is often dependent on
               the context in which it appears.” Bryan v. United States,
               524 U.S. 184, 191 (1998).           There are two primary
               interpretations of “willfully” in the criminal context.
               Generally, “to establish a ‘willful’ violation of a statute, ‘the
               Government must prove that the defendant acted with
               knowledge that his conduct was unlawful.’” Id. at 191–92
               (quoting Ratzlaf, 510 U.S. at 137). Alternatively, a willful
               violation may require proof that the defendant knows the
               specific legal prohibition or law that his conduct violates.
               See, e.g., Ratzlaf, 510 U.S. at 149. In Ratzlaf, a case
               involving domestic financial transactions, the Court held
               that “willfulness” required the government to prove that the
               defendant knew “not only of the bank’s duty to report cash
               transactions in excess of $10,000, but also of his duty not to
               avoid triggering such a report.” Id. at 146–47. In other
               words, the government had to show that the defendant knew
               the precise prohibition at issue. Similarly, several tax

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                     Although Singh’s proposed jury instructions did not clearly request
               a heightened standard, we nonetheless address his arguments.
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               statutes require proof that the defendant was aware of the
               provision she is charged with violating. See, e.g., Cheek v.
               United States, 498 U.S. 192, 201 (1991); United States v.
               DeTar, 832 F.2d 1110, 1114 (9th Cir. 1987). Cases
               requiring this heightened standard “involved highly
               technical statutes that presented the danger of ensnaring
               individuals engaged in apparently innocent conduct.”
               Bryan, 524 U.S. at 194.

                   In contrast, § 30121 is not a technical statute, nor does it
               present the same concern of inadvertently ensnaring
               uninformed individuals. In Ratzlaf, the Court discussed how
               an identical action—structuring a transaction—could have
               different legal and tax implications simply by varying the
               amount of the transaction. 510 U.S. at 145. Because the line
               between liability and innocent conduct in that case was so
               narrow, the requirement of a heightened standard was
               necessary. We see no such narrow line in § 30121, which
               simply prohibits foreign nationals from donating or
               contributing to candidates or political parties. Azano
               suggests that it may be difficult to discern whether a specific
               donation is prohibited since foreign nationals may still
               donate to “issue advocacy,” but the Court did so clearly in
               FEC v. Wisconsin Right to Life, Inc., 551 U.S. 449, 456
               (2007). Azano further suggests it may be difficult to discern
               what is prohibited because only in the last thirty-five years
               were donations to political candidates and parties
               criminalized. Yet, it is our “traditional rule that ignorance of
               the law is no excuse” from liability and Azano’s distinctions,
               then, provide no basis to apply the heightened standard.
               Bryan, 524 U.S. at 196.

                   Azano next points to United States v. Goland, 959 F.2d
               1449 (9th Cir. 1992), which involved a jury instruction using
               the heightened Ratzlaf standard to define “willfully” in
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               § 30109(d)(1)(A). Azano argues that because we have
               previously endorsed a heightened standard, we should do so
               again. However, Goland addressed only whether the district
               court abused its discretion by failing to instruct the jury that
               it may not infer the defendant’s specific intent to violate
               FECA simply from his failure to adhere to administrative or
               civil provisions. Id. at 1454. We did not consider whether
               § 30109(d)(1)(A) requires a heightened standard. Similarly,
               in United States v. Whittemore, 776 F.3d 1074, 1078–81 (9th
               Cir. 2015), we assessed only whether the jury instruction
               given by the district court adequately allowed the jury to
               consider the defense’s theory, not which standard was
               required. Neither case provides meaningful guidance for the
               question presented here.

                   Azano also cites language in the district court’s opinion
               in Bluman for the proposition that “seeking criminal
               penalties for violations of [§ 30121]—which requires that
               the defendant act ‘willfully’— . . . require[s] proof of the
               defendant’s knowledge of the law.” 800 F. Supp. 2d at 292
               (citation omitted). However, this statement played no role
               in the judgment of the panel, and the court provided no
               support for it besides a citation to United States v. Moore,
               612 F.3d 698, 702–04 (D.C. Cir. 2010) (Kavanaugh, J.,
               concurring), a case considering an entirely different statute.
               Not an essential part of the holding and with no analysis, this
               language in Bluman does not persuade us that the heightened
               specific intent standard is appropriate for this statute.

                   Instead, we find persuasive the analysis of a sister circuit
               that addressed whether the defendants acted “knowingly and
               willfully” pursuant to § 30109(d)(1)(A) when charged with
               violating FECA’s reporting requirements under § 30104. In
               United States v. Benton, the court held that the district court
               did not abuse its discretion when giving a jury instruction
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               adopting the Bryan standard of willfulness. 890 F.3d 697,
               715 (8th Cir. 2018). It rejected the defendant’s argument
               that “willfully” under FECA falls within the exception for
               highly technical statutes. We reach the same conclusion
               here. Appellants make no showing that § 30109(d)(1)(A)
               requires application of the heightened standard.

                   Nor does the rule of lenity require that we interpret
               “willfully” to require a heightened standard. While
               “ambiguity concerning the ambit of criminal statutes should
               be resolved in favor of lenity,” Skilling v. United States,
               561 U.S. 358, 410 (2010) (quoting Cleveland v. United
               States, 531 U.S. 12, 25 (2000)), Azano asks us to conclude
               that any criminal statute that imports a willfulness mens rea
               is somehow vague or ambiguous. This does not comport
               with the Supreme Court’s case law, as we generally apply
               the willfulness standard articulated in Bryan, and require the
               heightened specific intent standard only in exceptional cases.
               See 524 U.S. at 194–95 (“[W]e held that these statutes
               ‘carv[e] out an exception to the traditional rule’ that
               ignorance of the law is no excuse and require that the
               defendant have knowledge of the law.” (footnote omitted)
               (second alteration in original) (quoting Cheek, 498 U.S. at
               200)).

                   Azano’s related argument that a heightened specific
               intent standard properly applied to the conspiracy charge
               fails for the same reasons. Because it appropriately applied
               the Bryan standard, the district court did not abuse its
               discretion in stating the mens rea requirement for counts one
               or three. Moreover, the evidence proffered at trial indicated
               that Appellants took steps to conceal their actions, which
               suggests that they possessed knowledge that their actions
               were unlawful, not that they unwittingly engaged in criminal
               conduct.
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                                              B

                   As to the charge that Singh aided and abetted Azano’s
               unlawful donations, the district court’s jury instruction
               stated:

                      The evidence must show beyond a reasonable
                      doubt that the defendant acted with the
                      knowledge and intention of helping [Azano]
                      to commit the crime of making donations and
                      contributions by a foreign national
                      aggregating at least $25,000 in calendar year
                      2012, in violation of Title 2, United States
                      Code,     Sections     441e(a)(1)(A)      and
                      437g(d)(1)(A).

               Singh objected and proposed, in part, that the jury be told
               that “the government must prove . . . beyond a reasonable
               doubt . . . that Ravneet Singh knew that Mr. Azano was not
               a United States citizen or legal permanent resident.” Singh
               argues that the district court’s failure to include the material
               element that he knew Azano lacked immigration status
               constitutes reversible error.

                   The government agrees that Singh’s knowledge of
               Azano’s immigration status was a material element of the
               charged crime, but argues that the element was included
               within the district court’s broader instructions. That Singh
               was charged with aiding and abetting the making of
               donations by a foreign national implies that Singh must
               know that Azano was a foreign national. The government
               also points to various places in the record where the parties
               noted this requirement. For example, the prosecutor stated,
               “We have to prove that the defendant knew that [Azano] was
               a foreign national.”
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                   We agree with the government. “The jury must be
               instructed as to the defense theory of the case, but the exact
               language proposed by the defendant need not be used, and it
               is not error to refuse a proposed instruction so long as the
               other instructions in their entirety cover that theory.” United
               States v. Kenny, 645 F.2d 1323, 1337 (9th Cir. 1981).
               Although the district court could have properly included an
               express instruction regarding Singh’s knowledge of Azano’s
               immigration status, the instructions, as a whole, adequately
               covered that element. The instructions stated, “The evidence
               must show beyond a reasonable doubt that [Singh] acted
               with the knowledge and intention of helping [Azano] to
               commit the crime of making donations and contributions by
               a foreign national.” The jury thus knew that in order to find
               Singh guilty, it had to find that Singh was aware that Azano
               was a foreign national.

                   The arguments and evidence presented at trial further
               clarified this requirement. Singh’s primary defense was that
               he did not know Azano’s immigration status. Defense
               counsel stated in his closing argument, “The government has
               absolutely failed to prove beyond a reasonable doubt that
               Ravi Singh knew that Mr. Azano was not a citizen nor a
               green card holder and therefore was ineligible to do
               anything.” In response to this theory, the government
               presented ample evidence of Singh’s knowledge. First,
               Singh’s relationship with Azano started with services
               relating to the Mexican presidential election in 2011 in
               connection with which he traveled to Mexico with Azano.
               The Appellants’ relationship continued thereafter, and Singh
               performed other work for Azano’s Mexican businesses.
               Next, Singh took clear steps to conceal Azano’s involvement
               in the campaigns. In emails, Singh admonished coworkers
               for improper use of code names, and refused to communicate
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               about relevant topics      directly   due   to   the     “legal
               ram[i]fications.”

                  In sum, we find that the jury instructions sufficiently
               covered the required mental state, as required by § 30109
               and Singh’s defense theory.

                                            III

                   Appellants contest their convictions under counts five
               through thirty-seven, arguing there was insufficient evidence
               to satisfy the material elements of § 1519. “We review the
               sufficiency of the evidence de novo.” United States v.
               Kaplan, 836 F.3d 1199, 1211 (9th Cir. 2016). We “view[]
               the evidence in the light most favorable to the prosecution”
               and ask whether “any rational trier of fact could have found
               the essential elements of the crime beyond a reasonable
               doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979).

                   Section 1519 was enacted as part of the Sarbanes-Oxley
               Act of 2002, Pub. L. No. 107-204, 116 Stat. 745, and “was
               intended to prohibit, in particular, corporate document-
               shredding to hide evidence of financial wrongdoing.” Yates
               v. United States, 135 S. Ct. 1074, 1081 (2015). It provides
               that

                      [w]hoever knowingly alters, destroys,
                      mutilates, conceals, covers up, falsifies, or
                      makes a false entry in any record, document,
                      or tangible object with the intent to impede,
                      obstruct, or influence the investigation or
                      proper administration of any matter within
                      the jurisdiction of any department or agency
                      of the United States . . . shall be fined under
                      this title, imprisoned not more than 20 years,
                      or both.
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               18 U.S.C. § 1519. “In order to prove a violation of § 1519,
               the Government must show that the defendant (1) knowingly
               committed one of the enumerated acts in the statute, such as
               destroying or concealing; (2) towards ‘any record,
               document, or tangible object’; (3) with the intent to obstruct
               an actual or contemplated investigation by the United States
               of a matter within its jurisdiction.” United States v. Katakis,
               800 F.3d 1017, 1023 (9th Cir. 2015).

                   The government offered two theories on the falsification
               of records charges. For counts thirty-two and thirty-seven,
               the government argued that Singh failed to disclose that
               Azano paid for Singh’s social media services rendered to
               both the Dumanis and Filner campaigns. Dumanis’s
               campaign manager, Jennifer Tierney, discussed payment
               options with Singh, who responded that he would
               “voluntarily help” to “break[] into the San Diego market”
               after being warned “[t]hat no one could pay someone to
               volunteer in a campaign.” For the Filner campaign,
               campaign manager Ed Clancy testified that when discussing
               payment options, Singh responded, “Don’t worry. It’s taken
               care of.” The government argued that these material
               omissions caused the campaigns to file false entries on
               campaign disclosure reports. For Azano’s remaining counts,
               the government argued that he made false statements to the
               campaigns by using strawmen donors to conceal his political
               donations. Azano never donated himself, but instead
               instructed others to write checks on his silent behalf, with the
               promise of reimbursement. The government argued that
               these straw donors caused the campaigns to file false entries
               on campaign disclosure reports.

                                              A

                   Appellants first argue that the government failed to
               introduce evidence to satisfy any of the material elements of
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               § 1519 for counts thirty-two and thirty-seven. We assess
               each element in turn.

               1. Actus Reus

                   The government relied on Singh’s omission to satisfy
               § 1519’s actus reus element. Singh argues that the language
               in § 1519 requires an affirmative act, and that a mere
               omission, without an affirmative duty, cannot satisfy the
               element. Yet, many courts, including our own, have found
               that an omission with the requisite mental state satisfies the
               element. See, e.g., United States v. Taohim, 529 F. App’x
               969, 974 (11th Cir. 2013) (per curiam); United States v.
               Moyer, 674 F.3d 192, 207 (3d Cir. 2012); United States v.
               Schmeltz, 667 F.3d 685, 687–88 (6th Cir. 2011); United
               States v. Jackson, 186 F. App’x 736, 738–39 (9th Cir. 2006);
               see also United States v. Lanham, 617 F.3d 873, 887 (6th
               Cir. 2010) (“Material omissions of fact can be interpreted as
               an attempt to ‘cover up’ or ‘conceal’ information.”). None
               of these decisions analyzed in depth the question before us;
               they instead assumed that an omission with the requisite
               intent satisfies § 1519. But Singh cites no case that has held
               that an omission does not satisfy the requisite intent.

                   Two district courts have provided more extensive
               analysis on the issue and concluded that an omission
               constitutes a “false entry” within the meaning of § 1519. See
               United States v. Croley, No. 1:14-CR-29-2 (WLS), 2016 WL
               1057015, at *5–6 (M.D. Ga. Mar. 14, 2016); United States
               v. Norman, 87 F. Supp. 3d 737, 743–46 (E.D. Pa. 2015).
               Croley found that the plain language of § 1519 “does not
               exclude a knowing and intentional omission being construed
               as a false report.” 2016 WL 1057015, at *5. Norman noted
               the lack of authority on this precise issue, but drew from the
               generally accepted premise that an omission with the
               requisite mental state constitutes a deceptive practice, and
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               relied on a comparison to “an analogous statute,” 18 U.S.C.
               § 1005. 87 F. Supp. 3d at 744. Section 1005 prohibits “any
               false entry in any book, report, or statement of [a] bank . . .
               with intent to injure or defraud such bank . . . or to deceive
               any officer of such bank.” 18 U.S.C. § 1005. Both §§ 1519
               and 1005 prohibit false entries with the requisite mental
               state, and “[u]nder § 1005, ‘an omission of material
               information qualifies as a false entry.’” United States v.
               Weidner, 437 F.3d 1023, 1037 (10th Cir. 2006) (quoting
               United States v. Cordell, 912 F.2d 769, 773 (5th Cir. 1990)).

                   We find the district courts’ analyses convincing. It is
               difficult to differentiate between the culpability of one who
               intentionally omits information, and one who conceals or
               falsifies information. It may also be difficult to differentiate
               between acts of concealment and omission. Imagine, for
               example, an individual who omits the detail of a specific,
               identifiable tattoo from a witness statement, in order to
               conceal the identity of a perpetrator. In such a situation, the
               omission is an act of concealment or falsification.

                   Singh observes that the text of § 1519 lists only
               affirmative prohibited acts, and relies on the “interpretive
               canon, expressio unius est exclusio alterius, ‘expressing one
               item of [an] associated group or series excludes another left
               unmentioned.’” Chevron U.S.A. Inc. v. Echazabal, 536 U.S.
               73, 80 (2002) (alteration in original) (quoting United States
               v. Vonn, 535 U.S. 55, 65 (2002)). But “[h]owever well
               [statutory canons such as expressio unius] may serve at times
               to aid in deciphering legislative intent, they have long been
               subordinated to the doctrine that courts will construe the
               details of an act in conformity with its dominating general
               purpose.” SEC v. C. M. Joiner Leasing Corp., 320 U.S. 344,
               350 (1943). Congress intended for § 1519 to apply to a
               broad range of conduct. See S. Rep. No. 107-146, at 14
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               (2002) (“Section 1519 is meant to apply broadly to any acts
               to destroy or fabricate physical evidence so long as they are
               done with the intent to obstruct, impede, or influence the
               investigation or proper administration of any matter . . . .”)
               (emphasis added)). This supports the conclusion that an
               omission satisfies § 1519’s actus reus element, especially
               since terms such as “conceal” and “false entry,” specifically
               listed in the statute, refer to similar actions.

                   Singh further argues that even if he omitted the
               information that Azano was paying him for the social media
               services he provided to the campaigns, he had no duty to
               disclose that information. He claims that since he played no
               role in preparing the campaign disclosure forms, his
               connection to any actions taken was particularly tenuous.
               This argument has merit. In most of the cases where courts
               affirmed § 1519 convictions based on omissions, the
               defendants either prepared the record or document, or were
               responsible for doing so. See, e.g., Taohim, 529 F. App’x at
               974 n.2 (finding that the jury could reasonably have found
               the defendant responsible for the report at issue); Moyer,
               674 F.3d at 207 (finding that a chief of police had a legal
               duty to disclose certain information in his report). The
               campaign disclosure forms for the mayoral candidates in this
               case were filed pursuant to San Diego’s Municipal Code
               section 27.2930(a) and California Government Code section
               84200.5—both of which imposed the reporting requirements
               on campaigns and candidates, not on individuals
               “volunteering” or providing services to the campaigns.

                   However, Singh was not simply convicted under § 1519.
               Instead, the jury instructions and the Indictment disclosed
               that the government proceeded under 18 U.S.C. § 2(b) in
               conjunction with § 1519. “[Section 2(b)] is intended ‘to
               impose criminal liability on one who causes an intermediary
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               to commit a criminal act, even though the intermediary who
               performed the act has no criminal intent and hence is
               innocent of the substantive crime charged. . . .’” United
               States v. Richeson, 825 F.2d 17, 20 (4th Cir. 1987) (second
               alteration in original) (quoting United States v. Tobon-
               Builes, 706 F.2d 1092, 1099 (11th Cir. 1983)). It specifically
               prohibits a person from “willfully caus[ing] an act to be done
               which if directly performed by him or another would be an
               offense against the United States.” 18 U.S.C. § 2(b).

                   Under this theory of liability, the actus reus element
               merges with the mens rea element to focus liability on the
               person harboring the criminal intent. United States v.
               Curran, 20 F.3d 560, 567 (3d Cir. 1994) (“Under
               section 2(b), the intermediary committing the actus reus, the
               physical aspect of a crime, may be blameless and, therefore,
               is not the person whom society seeks to punish. To fix
               blameworthiness on the actual malefactor, § 2(b) merges the
               mens rea and actus reus elements and imposes liability on
               the person possessing the ‘evil intent’ to cause the criminal
               statute to be violated.”). Thus, the government did not need
               to prove that Singh prepared the reports or had a duty to
               report Azano’s patronage; rather, that the campaign had a
               duty to report the information is enough. See United States
               v. Fairchild, 990 F.2d 1139, 1141 (9th Cir. 1993) (finding
               liability under § 2(b) because defendant’s actions caused
               false statements to be made to the government).

                   Proceeding under this theory is in line with Congress’s
               intention that § 1519 be broadly construed:

                      Finally, [section 1519] could also be used to
                      prosecute a person who actually destroys the
                      records himself in addition to one who
                      persuades another to do so, ending yet
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                      another technical distinction which burdens
                      successful prosecution of wrongdoers.

               S. Rep. No. 107-146, at 15 (emphasis added). Where, as
               here, the campaign lacked the requisite intent because it was
               unaware of Azano’s payments due to Singh’s silence, § 2(b)
               authorized holding accountable those with the intent to
               conceal or falsify records.

               2. Causation Under Section 2(b)

                   “When a defendant’s culpability is based, not on his own
               communications with the federal agency, but on information
               furnished to the agency by an intermediary, the element of
               intent takes on a different cast than it does if a direct
               violation of [the underlying statute] is asserted.” Curran,
               20 F.3d at 567. By proceeding pursuant to § 2(b), the
               government had to show that Singh “willfully” caused the
               false reporting. 18 U.S.C. § 2(b). Singh argues that Curran
               compels us to use the Ratzlaf standard, which would require
               that he must have known “the reporting requirements and
               intended to cause them to be evaded.” But, under either the
               Ratzlaf or Bryan standard, we find the evidence sufficient to
               affirm count thirty-two for Singh’s actions in connection
               with the Dumanis campaign, although insufficient to affirm
               count thirty-seven in connection with his actions regarding
               the Filner campaign.

                    The government presented sufficient evidence for a jury
               to find that Singh willfully caused the Dumanis campaign to
               file falsified reports, and so we affirm Appellants’
               convictions under count thirty-two. The government
               established that Singh had a long history of providing his
               professional services in connection with political campaigns
               and elections, that he had operated ElectionMall since 2003,
               and had even run for a political office himself at an earlier
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               time. Tierney testified that she warned Singh “[t]hat no one
               could pay someone to volunteer in a campaign,” and “[t]hat
               if any payments were made, those would have to be reported
               to the campaign, and we would have to report them on a
               [Form] 460.” Knowing these reporting requirements, Singh
               still offered to “voluntarily help” and concealed Azano’s
               payments by using code names and invoicing through
               separate companies. The jury reasonably could have found
               that Singh knew campaign disclosure reports required
               disclosing in-kind contributions, and that he withheld his
               funding to prevent such disclosures. 5

                   Regarding Appellants’ convictions pursuant to count
               thirty-seven—causing the Filner campaign to file false
               reports—we find the evidence insufficient to sustain either
               conviction. When the Filner campaign asked about payment
               for Singh’s social media services, Singh stated, “Don’t
               worry. It’s taken care of.” Clancy, the campaign manager,
               did not respond with any questions, and later admitted, “I
               made a mistake . . . . I internalized the information . . . . I
               should have let somebody know.” Singh’s statement cannot
               reasonably be construed as willfully causing the Filner
               campaign to file falsified reports.         Instead, Singh’s
               statements suggested that he was being paid by a third party,
               yet the campaign failed to note this in the reports. This
               cannot meet even the Bryan standard of willfulness, and so
               we reverse both convictions under count thirty-seven.




                    5
                     On this point, Singh also argues that the jury instructions were
               erroneous. Due to the overwhelming evidence we have recited, however,
               we find any instructional error harmless beyond a reasonable doubt. See
               Neder v. United States, 527 U.S. 1, 9–10 (1999).
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               3. Investigation

                   Singh also argues that the government did not show that
               his actions were taken with “the intent to impede, obstruct,
               or influence the investigation or proper administration of any
               matter.” 18 U.S.C. § 1519. He cites cases that focus on the
               nexus between the action and an investigation to argue that
               the government erred “by conflating the intent to commit the
               underlying crime with the intent to impede a subsequent
               investigation.”

                   On its face, the statute is particularly broad regarding the
               investigation element. One need not impede, obstruct, or
               influence an actual ongoing investigation; instead, the mere
               fact that the defendant contemplates an investigation
               satisfies this element. United States v. Gonzalez, 906 F.3d
               784, 793–96 (9th Cir. 2018). Congress intentionally relaxed
               this requirement to allow the statute to reach more broadly.
               See S. Rep. No. 107-146, at 14–15 (“This statute is
               specifically meant not to include any technical requirement,
               which some courts have read into other obstruction of justice
               statutes, to tie the obstructive conduct to a pending or
               imminent proceeding or matter. It is also sufficient that the
               act is done “in contemplation” of or in relation to a matter or
               investigation.”). 6

                   Reading the section broadly, the government presented
               sufficient evidence to prove this element. The government
               established that Singh had a long history of involvement in
               campaigns and elections, and that he was warned about the

                   6
                     Our sister circuits have similarly interpreted the section broadly.
               See, e.g., United States v. Moore, 708 F.3d 639, 649 (5th Cir. 2013);
               United States v. Kernell, 667 F.3d 746, 755 (6th Cir. 2012); United States
               v. Gray, 642 F.3d 371, 378–79 (2d Cir. 2011).
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               reporting requirements in the San Diego mayoralty
               campaigns. Still, Singh stated he would “voluntarily help”
               and did not disclose any payments by Azano. Singh limited
               any paper trail by using code names and admonishing those
               discussing Azano’s payments in emails. From this evidence,
               a jury could reasonably infer that Singh contemplated an
               investigation due to unlawful activity and intended to direct
               that investigation away from himself.

               4. Jurisdiction

                   Lastly, Singh argues that any investigation of his conduct
               is not within the jurisdiction of the United States, because it
               involved a local campaign, and the falsified campaign
               disclosure forms violated state and local laws, not federal
               law. Section 1519 requires that the conduct “influence the
               investigation or proper administration of any matter within
               the jurisdiction of any department or agency of the United
               States.” 18 U.S.C. § 1519 (emphasis added).

                   Singh misconstrues the focus of the investigation. We
               agree that violations of state campaign disclosure laws do
               not fall within the jurisdiction of the United States; however,
               the Federal Bureau of Investigation (FBI) has jurisdiction to
               investigate violations of FECA. This extends to state and
               local elections insofar as the FBI investigates donations by a
               foreign national. Here, the FBI did investigate the
               campaigns, due to Azano’s foreign nationality. That the
               reports were filed pursuant to state law has no bearing since
               they were sought in connection with the investigation of a
               federal crime.

                   Singh cites United States v. Facchini, 874 F.2d 638 (9th
               Cir. 1989) (en banc), and United States v. Ford, 639 F.3d
               718 (6th Cir. 2011), to support his argument. Both cases
               involved prosecutions pursuant to 18 U.S.C. § 1001, and
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               both cases found no “direct relationship . . . between the
               false statement and an authorized function of a federal
               agency or department.” Facchini, 874 F.2d at 641; see also
               Ford, 639 F.3d at 720–22. In contrast, the government here
               focused on donations and contributions by a foreign
               national, and those fall within the jurisdiction of the FBI. 7

                                                  B

                   Azano also argues there was insufficient evidence to
               affirm his remaining convictions under counts five through
               thirty-one and thirty-three through thirty-six. We conclude
               that the government presented sufficient evidence to show
               that Azano willfully caused the campaigns to make false
               entries on campaign disclosure forms with the intent of
               obstructing a potential investigation. Chase testified that
               Azano asked him to recruit straw donors for the Dumanis
               campaign and make a large donation to a Filner PAC, and
               promised to reimburse him for those donations. Azano also
               tasked his employee, Jason Wolter, and his own son, Hester,
               to “recruit . . . friends . . . to write a $500 check to the
               campaign.” The government presented a ledger seized from
               Azano’s home that tallied all straw donations obtained.
               Azano made no direct donations, but his U.S.-based
               company, AIRSAM, made a $100,000 donation to fund a
               Dumanis PAC. A local newspaper article traced the money
               back to Azano, questioning whether the donation was legal
               due to Azano’s immigration status. The government noted
               that, subsequently, Azano never made another donation
                    7
                      Singh argues that the rule of lenity directs us to resolve any
               ambiguity in § 1519 in his favor. But even if we were to agree that the
               statute is ambiguous, we would refuse to apply the rule of lenity in this
               case given the strong evidence that Appellants knew that their actions
               were unlawful. See United States v. Nader, 542 F.3d 713, 721 (9th Cir.
               2008).
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               through AIRSAM. All of the evidence presented allowed a
               rational trier of fact to find that Azano knowingly caused the
               campaigns to make false entries on campaign disclosure
               forms with the intent to obstruct a potential investigation.

                   Azano additionally argues that there was insufficient
               evidence to convict him of count thirty-three, which
               involved a $100,000 donation from AIRSAM to a Dumanis
               PAC. While Azano correctly notes that AIRSAM may
               legally donate to a PAC, see Citizens United v. FEC,
               558 U.S. 310, 372 (2010), the government proceeded under
               the theory that AIRSAM was a straw donor for Azano, who
               had no constitutional right to donate. We find that the
               government presented sufficient evidence that Azano put the
               funds into AIRSAM’s account to disguise the donation,
               much like the straw donations provided by U.S. citizens.
               The government presented documentation showing that
               AIRSAM’s bank account did not have the funds on May 8,
               2012—the date on the check to Dumanis’s PAC—to pay the
               $100,000 pledged. The government then presented bank
               statements showing transfers from Azano’s personal bank
               account ($125,000) and from his Mexican company
               ($300,000) into AIRSAM’s account.

                   In summation, we hold that an omission satisfies the
               actus reus element for § 1519. A reasonable jury could have
               found beyond a reasonable doubt that Singh’s omission
               willfully caused Dumanis’s campaign to file false reports,
               and so we affirm Azano’s and Singh’s convictions under
               count thirty-two. Furthermore, a reasonable jury could have
               found beyond a reasonable doubt that Azano concealed his
               identity from these campaigns by recruiting straw donors,
               and that he willfully caused both campaigns to file false
               reports. We therefore affirm Azano’s convictions under
               counts five through thirty-six. Finally, finding the evidence
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               insufficient to prove that Singh willfully caused the Filner
               campaign to file false records, we reverse Appellants’
               convictions under count thirty-seven.

                                             IV

                   Singh next appeals his conviction for conspiracy,
               charged in count one. First, he argues that the court failed
               “to instruct the jury that evidence of more than one
               conspiracy was presented to the jury.” We review de novo
               whether the jury instructions adequately cover the
               defendant’s theory of the case. Liew, 856 F.3d at 595–96.

                  We find that the following jury instruction adequately
               covered Singh’s multiple conspiracy theory:

                      [The jury] must decide whether the
                      conspiracy charged in Count 1 of the
                      Indictment existed, and, if it did, who at least
                      some of its members were. If you find that
                      the conspiracy charged did not exist for the
                      charged Count, then you must return a not
                      guilty verdict for that Count, even though you
                      may find that some other conspiracy existed.
                      Similarly, if you find that any defendant was
                      not a member of the charged conspiracy, then
                      you must find that defendant not guilty for
                      that Count, even though that defendant may
                      have been a member of some other
                      conspiracy.

               Thus, the jury had to find that Singh participated in the
               charged conspiracy; if not, “even though [Singh] may have
               been a member of some other conspiracy,” the jury was
               instructed to return a not guilty verdict. It was the jury that
               had to decide whether a conspiracy or multiple conspiracies
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               existed, and the court’s jury instruction adequately presented
               this theory. See United States v. Loya, 807 F.2d 1483, 1492–
               93 (9th Cir. 1987).

                   Singh also argues that there was insufficient evidence of
               a single conspiracy to sustain his conviction. Instead, he
               claims that the government proved only a “rimless
               conspiracy” under which his conviction could not stand.
               “Whether a single conspiracy has been proved is a question
               of the sufficiency of the evidence,” and we review such
               claims de novo. United States v. Fernandez, 388 F.3d 1199,
               1226 (9th Cir. 2004), as amended, 425 F.3d 1248 (9th Cir.
               2005).

                   To determine whether a single conspiracy or multiple
               conspiracies have been proven, we employ the following
               test:

                      A single conspiracy can only be
                      demonstrated by proof that an overall
                      agreement existed among the conspirators.
                      Furthermore, the evidence must show that
                      each defendant knew, or had reason to know,
                      that his benefits were probably dependent
                      upon the success of the entire operation.
                      Typically, the inference of an overall
                      agreement is drawn from proof of a single
                      objective . . . or from proof that the key
                      participants and the method of operation
                      remained constant throughout the conspiracy.
                      The inference that a defendant had reason to
                      believe that his benefits were dependent upon
                      the success of the entire venture may be
                      drawn from proof that the coconspirators
                      knew of each other’s participation or actually
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                      benefitted from      the   activities   of   his
                      coconspirators.

               Id. (quoting United States v. Duran, 189 F.3d 1071, 1080
               (9th Cir. 1999)). “[I]f the indictment alleges a single
               conspiracy, but the evidence at trial establishes only that
               there were multiple unrelated conspiracies, there is
               insufficient evidence to support the conviction on the crime
               charged, and the affected conviction must be reversed.” Id.
               at 1226–27. Nonetheless, “[a] single conspiracy may
               involve several subagreements or subgroups of
               conspirators.” United States v. Bibbero, 749 F.2d 581, 587
               (9th Cir. 1984).

                   The Indictment alleged a single conspiracy. Singh
               argues that his only objective was to make money for his
               social media business, not to influence elections. Yet the
               jury could reasonably have concluded that Singh’s goal was
               broader. In an email from Dumanis to her campaign staff,
               she reported that she “got a call, conference call, from Ernie
               Encinas, Susumo Azano, and Ravi Singh. . . [Singh]
               apparently flew to SD just to talk with Mr. A who wanted
               him to talk to me!” In an email between Singh and Encinas,
               Encinas mentioned, “[Azano] was upset about the money he
               said he sent you to form a PAC and do the social media.”
               These interactions with Azano suggested that Singh’s role
               was not limited to his social media business, but included
               generally assisting Azano with the campaigns.

                   Furthermore, the key participants and method of
               operations remained the same throughout the period of the
               conspiracy. All co-defendants acted from at least December
               2011 to November 2012. Singh spoke with Azano and then
               flew to San Diego to meet with the Dumanis campaign at the
               end of December. At the same time, Chase and Hester
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               secured straw donors to contribute to Dumanis’s campaign.
               Just as Chase, Hester, and Encinas concealed Azano’s
               donations to the campaigns, so too Singh concealed Azano’s
               patronage. Once Dumanis lost the primary, all the
               participants proceeded to support the Filner campaign in
               much the same way. The jury could reasonably have
               inferred an overall agreement from the proof of a single goal,
               or from proof that these key participants and their general
               operations remained constant throughout the conspiracy.

                   It might be a closer question whether Singh knew, or had
               reason to know, about the other co-conspirators’
               participation. The government provided sufficient evidence
               that Singh knew Azano and Encinas and the role they played
               in coordinating efforts for the San Diego mayoral race, but
               there is no direct evidence that Singh knew of the subgroup
               who obtained straw donors. However, the government did
               not need to show that Singh “knew all of the purposes of and
               all of the participants in the conspiracy.” United States v.
               Kearney, 560 F.2d 1358, 1362 (9th Cir. 1977). Instead,
               while there may not have been proof of direct knowledge of
               Hester’s, Cortes’s, or Chase’s contributions, there was proof
               that Singh benefitted from them, as they all worked towards
               election of mayoral candidates. The straw donations that
               Hester, Cortes, and Chase obtained, whether for the
               individual campaigns or for PACs, affected Singh’s success
               as a “volunteer” for the campaigns. All of their efforts
               benefitted the common goal of electing Azano’s chosen
               mayoral candidates. Under the standard in Fernandez, this
               was sufficient to show a single conspiracy.

                                             V

                   Azano was also convicted of unlawfully possessing a
               firearm as an alien in violation of 18 U.S.C. § 922(g)(5)(B),
               which states,
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                      (g) It shall be unlawful for any person—

                          ...

                          (5) who, being an alien—

                                ...

                                (B) except as provided in subsection
                                (y)(2), has been admitted to the
                                United States under a nonimmigrant
                                visa (as that term is defined in section
                                101(a)(26) of the Immigration and
                                Nationality      Act      (8     U.S.C.
                                1101(a)(26)));

                          ...

                      to . . . possess in or affecting commerce, any
                      firearm or ammunition. . .

               Subsection “(g)(5)(B) . . . do[es] not apply to any alien who
               has been lawfully admitted to the United States under a
               nonimmigrant visa, if that alien is . . . admitted to the United
               States for lawful hunting or sporting purposes or is in
               possession of a hunting license or permit lawfully issued in
               the United States.” Id. § 922(y)(2) (emphasis added).

                   The State Department admitted Azano to the United
               States through several B1/B2 visas “issued to someone who
               wishes to visit the United States for personal pleasure and
               limited business.” A nonimmigrant visitor for business is
               granted a B1 visa, while a visitor for pleasure is granted a B2
               visa. 22 C.F.R. § 41.31(a). “The term pleasure . . . refers to
               legitimate activities of a recreational character, including
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               tourism, amusement, visits with friends or relatives, rest,
               medical treatment, and activities of a fraternal, social, or
               service nature.” Id. § 41.31(b)(2).

                   Azano does not dispute that he was admitted under a
               nonimmigrant visa, but makes three arguments challenging
               his conviction under § 922(g)(5)(B). First, Azano argues
               that § 922(g)(5)(B) is unconstitutional because it violates his
               Second Amendment right to possess a firearm. Next, he
               argues that the possession of a gun can be “of a recreational
               character” and for “amusement” and thus, B2 visa holders
               qualify for § 922(y)(2)’s “sporting purposes” exception.
               Lastly, Azano alternatively argues that if the regulations and
               statute do not authorize B2 holders to possess a gun, the
               statute is unconstitutionally vague as applied to him. We
               address each argument in turn.

                                             A.

                   Azano’s Second Amendment challenge comes on the
               heels of our recent decision in United States v. Torres, where
               we held that § 922(g)(5)(A), which prohibits aliens illegally
               or unlawfully in the United States from possessing firearms,
               does not violate the Second Amendment. 911 F.3d 1253,
               1264–65 (9th Cir. 2019). We must now consider whether
               § 922(g)(5)(B), a similar prohibition that applies to
               nonimmigrant visa holders, violates the Second
               Amendment.

                  To analyze whether a statute violates the Second
               Amendment, we utilize a two-step test, which “(1) asks
               whether the challenged law burdens conduct protected by the
               Second Amendment and (2) if so, directs courts to apply an
               appropriate level of scrutiny.” United States v. Chovan,
               735 F.3d 1127, 1136 (9th Cir. 2013). Under the first step,
               we must determine whether the law burdens the Second
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               Amendment “based on a ‘historical understanding of the
               scope of the [Second Amendment] right.’” Jackson v. City
               and Cty. of San Francisco, 746 F.3d 953, 960 (9th Cir. 2014)
               (alteration in original) (quoting District of Columbia v.
               Heller, 554 U.S. 570, 625 (2008)). In Torres, we attempted
               to trace the historical understanding of the right by looking
               primarily at the Supreme Court’s decision in Heller and
               decisions by our sister circuits. We noted that while Heller
               did not resolve who exactly possesses a Second Amendment
               right, the decision “described the Second Amendment as
               ‘protect[ing] the right of citizens’ and ‘belong[ing] to all
               Americans.’” Torres, 911 F.3d at 1259 (alterations in
               original) (quoting Heller, 554 U.S. at 581, 595).
               Additionally, we observed that while all of our sister circuits
               that had analyzed the constitutionality of § 922(g)(5)(A) had
               found the statute constitutional, they had differed in their
               assessment of its historical scope. Compare United States v.
               Portillo-Munoz, 643 F.3d 437, 440 (5th Cir. 2011)
               (concluding that “the people” does not include illegal aliens
               given Heller’s descriptions of the right extending to those in
               “the political community”), United States v. Flores, 663 F.3d
               1022, 1023 (8th Cir. 2011) (per curiam) (agreeing with the
               Fifth Circuit), and United States v. Carpio-Leon, 701 F.3d
               974, 979 (4th Cir. 2012) (“[I]llegal aliens do not belong to
               the class of law-abiding members of the political community
               to whom the Second Amendment gives protection.”), with
               United States v. Meza-Rodriguez, 798 F.3d 664, 670–72 (7th
               Cir. 2015) (applying the sufficient connections test in United
               States v. Verdugo-Urquidez, 494 U.S. 259 (1990), to
               determine that the unlawful alien had sufficient connections
               to the United States to be afforded Second Amendment
               rights), and United States v. Huitron-Guizar, 678 F.3d 1164,
               1168 (10th Cir. 2012) (refusing to determine whether
               unlawful aliens are within the scope of the Second
               Amendment and instead assuming it for the second part of
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               the analysis). After this analysis, we noted that “the state of
               the law precludes us from reaching a definite answer on
               whether unlawful aliens are included in the scope of the
               Second Amendment right.” Torres, 911 F.3d at 1261.

                   Even though we address a lawfully admitted,
               nonimmigrant alien in this case, the same ambiguity exists.
               Some courts have read the historical right as one afforded
               only to citizens or those involved in the political community,
               while others have focused instead on an individual’s
               connection to the United States. Nonimmigrant aliens, like
               those unlawfully present, are neither citizens nor members
               of the political community. By definition, “[a]n alien is
               classifiable as a nonimmigrant visitor for business (B-1) or
               pleasure (B-2) if . . . [t]he alien intends to leave the United
               States at the end of the temporary stay.” 22 C.F.R.
               § 41.31(a). In order to grant such a visa, the government
               ensures that the individual “has permission to enter a foreign
               country at the end of the temporary stay” and “[a]dequate
               financial arrangements . . . to carry out the purpose of the
               visit to and departure from the United States.” Id. The
               government argues that because such measures ensure a
               temporary visit, a short-term visitor could not be part of “the
               people” any more than unlawful or illegal aliens who attempt
               to permanently reside in the United States. While this
               argument does not lack force, we believe it prudent to follow
               Torres, “assume (without deciding) that the Second
               Amendment extends to” nonimmigrant visa holders, and
               proceed to the second step of the analysis. 911 F.3d at 1261.

                   In Torres, we determined that the appropriate level of
               scrutiny to apply to a Second Amendment challenge of
               § 922(g)(5) is intermediate. Id. at 1262–63 (explaining that
               “§ 922(g)(5) does not implicate the core Second
               Amendment right, and . . . its burden is tempered”).
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               Intermediate scrutiny requires “(1) the government’s stated
               objective to be significant, substantial, or important; and
               (2) a reasonable fit between the challenged regulation and
               the asserted objective.” Chovan, 735 F.3d at 1139. The
               government does not need to show that the statute is “the
               least restrictive means of achieving its interest,” but rather
               “only that [the statute] promotes a ‘substantial government
               interest that would be achieved less effectively absent the
               regulation.’” Fyock v. City of Sunnyvale, 779 F.3d 991, 1000
               (9th Cir. 2015) (quoting Colacurcio v. City of Kent, 163 F.3d
               545, 553 (9th Cir. 1998)).

                   The government’s interest in this case is straightforward.
               The government’s interest is the same as in Torres—crime
               control and maintaining public safety. This objective has
               repeatedly been recognized as important within our circuit
               and elsewhere. See, e.g., Heller, 554 U.S. at 626–27
               (recognizing that regulations on gun possession or
               ownership may be lawful due to the government’s interest in
               public safety); Mahoney v. Sessions, 871 F.3d 873, 882 (9th
               Cir. 2017); United States v. Yancey, 621 F.3d 681, 684–85
               (7th Cir. 2010).

                   Further, the statute reasonably serves this important
               interest. It carves out exceptions for visa holders who are
               less likely to threaten public safety. Section 922(y)(2), for
               example, exempts those that come to the United States for
               hunting or sporting purposes. And, § 922(y)(3) creates a
               broad waiver for visa holders who have “resided in the
               United States for a continuous period of not less than
               180 days” if they receive a statement of support from their
               embassy or consulate, and the Attorney General confirms
               that they do not “jeopardize the public safety.” 18 U.S.C.
               § 922(y)(3)(B)(i)–(ii), (C)(ii).    We find this tailoring
               sufficient.
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                   In summary, § 922(g)(5)(B)’s prohibition on firearm
               possession and ownership by nonimmigrant visa holders
               serves an important public interest in crime control and
               public safety, without substantially burdening a
               nonimmigrant visa holder’s assumed Second Amendment
               right. We therefore hold that § 922(g)(5)(B) survives
               intermediate scrutiny.

                                            B.

                   We turn next to Azano’s claim that his possession of a
               gun fell within the “pleasure” designation in 22 C.F.R.
               § 41.31(b)(2) or automatically qualified as a “sporting
               purpose” pursuant to 18 U.S.C. § 922(y)(2). Azano further
               argues that if the regulations and statute are not interpreted
               this way, they are void for vagueness. We review the
               interpretation of a statute, and whether it is
               unconstitutionally vague, de novo. United States v.
               Robertson, 875 F.3d 1281, 1286–87 (9th Cir. 2017).

                   Azano first argues that all B2 nonimmigrant visa holders
               should be permitted to own firearms, as their very presence
               is an “activit[y] of a recreational character.” 22 C.F.R
               § 41.31(b)(2). But the plain language of § 922(g)(5)(B)
               betrays Azano’s argument. Section 922(g)(5)(B) applies
               directly to nonimmigrant visa holders. Azano agrees that B2
               visa holders are nonimmigrant visa holders, yet simply states
               that we should interpret “pleasure” activities to include
               firearm ownership.         However, “[a]bsent persuasive
               indications to the contrary, we presume Congress says what
               it means and means what it says.” Simmons v. Himmelreich,
               136 S. Ct. 1843, 1848 (2016).

                  Azano’s next position—that firearm possession for
               “sporting purposes” is a pleasure activity—necessarily
               implies that all B2 visa holders fall under § 922(y)(2)’s
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               exception. “In construing provisions . . . in which a general
               statement of policy is qualified by an exception, we usually
               read the exception narrowly in order to preserve the primary
               operation of the provision.” Comm’r v. Clark, 489 U.S. 726,
               739 (1989). This interpretive method guides our analysis
               here.    Section 922(g)(5)(B) plainly prohibits firearm
               possession by B2 visa holders, subject only to limited
               exceptions clearly spelled out in § 922(y). Had Congress
               intended for the sporting purposes exception in
               § 922(y)(2)(A) to apply to all B2 visa holders, it would have
               said so explicitly.

                   Further, the record illustrates just how overinclusive
               Azano’s proffered definition would be. Azano has never
               claimed that he engaged in hunting activities for pleasure or
               used the firearm for sporting purposes. 8 Instead, he offered
               evidence suggesting that he possessed the gun solely for
               protection.      Concluding that firearm ownership
               automatically qualifies as a “pleasure” activity or “sporting
               purpose” would thus be difficult in the light of the facts of
               this case alone.

                   Azano’s void-for-vagueness claim also fails. A statute
               is unconstitutionally vague if it “fails to provide people of
               ordinary intelligence a reasonable opportunity to understand
               what conduct it prohibits.” SEC v. Gemstar-TV Guide Int’l,
               Inc., 401 F.3d 1031, 1048 (9th Cir. 2005) (en banc) (quoting
               Hill v. Colorado, 530 U.S. 703, 732 (2000)). Section
               922(g)(5)(B) quite clearly prohibits possession of firearms
               by all those admitted to the United States under a

                   8
                      To the extent that Azano now claims that he qualified under
               § 922(y)(2), he failed to raise this affirmative defense below, and so it is
               forfeited. See Brannan v. United Student Aid Funds, Inc., 94 F.3d 1260,
               1266 (9th Cir. 1996).
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               nonimmigrant visa. Section 922(y)(2) includes an exception
               to this general rule for nonimmigrant visa holders who visit
               the United States for lawful hunting or sporting purposes.
               We interpret “sporting purposes” according to the narrow
               provision that includes it. The exception reasonably implies
               sporting activities that involve the use of guns, such as target
               shooting, or trap and skeet shooting. It does not suggest a
               broader definition including all recreational activities or
               possession of guns for pleasure. Section 922(y)(2)’s
               legislative history also supports this interpretation:

                      [I]f you are someone who has come to the
                      United States for lawful hunting or sporting
                      hunts . . . that person is exempt. That person
                      may purchase a gun while here for that
                      purpose.

               144 Cong. Rec. S8641 (daily ed. July 21, 1998) (statement
               of Sen. Durbin).

                  B1/B2 nonimmigrant visa holders do not automatically
               qualify for § 922(y)(2)’s exception and, by a plain reading
               of the statute, are subject to the prohibition on gun
               possession.        Furthermore,     § 922(y)(2)    is   not
               unconstitutionally vague as applied to B1/B2 visa holders.
               Accordingly, we affirm the district court’s holdings and
               Azano’s conviction under § 922(g)(5)(B).

                                             VI

                   Finally, Appellants seek our review of the district court’s
               denial of several trial motions. First, Azano argues that the
               district court abused its discretion in denying his motion for
               a new trial based on alleged ineffective assistance of his trial
               counsel, Michael Wynne. Singh also argues that the district
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               court abused its discretion when denying his motion to sever
               the trial from co-defendants Cortes and Hester.

                                             A.

                    “[W]hen a claim of ineffective assistance of counsel is
               first raised in the district court prior to the judgment of
               conviction, the district court may, and at times should,
               consider the claim at that point in the proceeding.” United
               States v. Steele, 733 F.3d 894, 897 (9th Cir. 2013) (quoting
               United States v. Brown, 623 F.3d 104, 113 (2d Cir. 2010)).
               However, the decision of whether to review the claim “is
               best left to the discretion of the district court.” Id. “We are
               mindful that district courts face competing considerations in
               deciding whether it is appropriate to inquire into the merits
               of [ineffective assistance] claims prior to judgment,
               including . . . the . . . disruption of the proceedings.” Id. at
               898 (alterations in original) (quoting Brown, 623 F.3d
               at 113). Such considerations include “the existence of
               evidence already in the record indicating ineffective
               assistance of counsel,” “the scope of the evidentiary hearing
               that would be required to fully decide the claim,” and the
               need to relieve trial counsel, appoint new counsel, or
               consider the availability of post-conviction counsel if the
               claim is not heard until then. Id.

                   In denying Azano’s motion for a new trial, the district
               court explained that “the trial record here is not sufficiently
               developed to enable the [c]ourt to resolve the multiple and
               varied ineffective assistance of counsel claims being
               asserted by Mr. Azano . . . . Mr. Azano sets forth, by my
               count, no less than a dozen separate grounds in support of
               that claim, each of which would have to be considered and
               evaluated individually.”      The court agreed with the
               government that there would be “a long delay in resolving
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               the case, and . . . [it] would run afoul of this [c]ourt’s duty to
               promote the interest of justice and judicial economy.”

                   The district court did not abuse its discretion. We agree
               with the court that there are a number of claims at issue even
               though Azano frames his motion as a single ineffective
               assistance of counsel claim. We observe, at a minimum,
               ineffective assistance of counsel claims for failure to proffer
               a defense, failure to introduce exculpatory evidence, and
               failure to adequately investigate. To address such claims,
               the court would have needed to examine counsel’s reasons
               and motivations for taking and not taking certain actions,
               which would have resulted in a prolonged evidentiary
               hearing. Additionally, Azano’s ability to retain post-
               conviction representation relieves concerns that the claim
               may not receive due consideration in a collateral proceeding.

                   Other considerations weigh in Azano’s favor. Azano
               appointed another attorney for post-trial motions,
               eliminating the district court’s need “to relieve the
               defendant’s attorney, or in any event, to appoint new counsel
               in order to properly adjudicate the merits of the claim.” Id.
               (quoting Brown, 623 F.3d at 113). Further, waiting for post-
               conviction relief may result in some prejudice to Azano by
               “weakening of memories and aging of evidence,” as well as
               time Azano will be incarcerated waiting for the claims to be
               heard. Id. at 897. Still, given the considerations weighing
               against Azano, we cannot say the district court abused its
               discretion.

                   Azano also requests that we review his ineffective
               assistance of counsel claim directly on appeal. Generally,
               we will not entertain ineffective assistance of counsel claims
               on direct appeal because the record is often undeveloped “as
               to what counsel did, why it was done, and what, if any,
               prejudice resulted.” United States v. Andrews, 75 F.3d 552,
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               557 (9th Cir. 1996) (quoting United States v. Rewald,
               889 F.2d 836, 859 (9th Cir. 1989)). “This is so even if the
               record contains some indication of deficiencies in counsel’s
               performance.” Massaro v. United States, 538 U.S. 500, 504
               (2003). We will consider an ineffective assistance claim on
               direct appeal only “where the record is sufficiently
               developed to permit review and determination of the issue,
               or the legal representation is so inadequate that it obviously
               denies a defendant his Sixth Amendment right to counsel.”
               Steele, 733 F.3d at 897 (quoting United States v. Rivera-
               Sanchez, 222 F.3d 1057, 1060 (9th Cir. 2000)). Neither
               circumstance applies here.

                                            B.

                   Singh argues that the district court abused its discretion
               in denying his motion to sever his trial from all defendants
               except Azano. However, “[i]t is well settled that the motion
               to sever ‘must be renewed at the close of evidence or it is
               waived.’” United States v. Alvarez, 358 F.3d 1194, 1206
               (9th Cir. 2004) (quoting United States v. Restrepo, 930 F.2d
               705, 711 (9th Cir. 1991)). The record does not show that
               Singh’s counsel renewed the motion, nor does Singh proffer
               any reason as to why such waiver should not apply.
               Accordingly, we find that Singh waived this argument.

                   Relatedly, Singh argues that the joint trial compromised
               his due process rights due to the “irresponsible actions of
               Azano’s attorney.” Singh points us to People v. Estrada,
               75 Cal. Rptr. 2d 17 (Ct. App. 1998), as authority for such a
               claim. In Estrada, the state court found that co-defendant’s
               counsel improperly suggested that the defendant was more
               culpable than his client. Id. at 23. Even if we were to
               recognize that such conduct gives rise to a due process
               violation, the record does not show that Azano’s counsel
               made any similar suggestion here.
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                                   CONCLUSION

                   We reverse Azano’s and Singh’s convictions under
               count thirty-seven for falsification of campaign records,
               finding the evidence insufficient to support all material
               elements. We affirm all other convictions. We vacate
               Azano’s and Singh’s sentences and remand for re-sentencing
               in accordance with this opinion.

                 AFFIRMED IN PART, REVERSED IN PART, and
               REMANDED FOR RE-SENTENCING.
